     Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 1 of 16




                                                              4028




March 8, 2021
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 2 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 3 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 4 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 5 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 6 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 7 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 8 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 9 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 10 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 11 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 12 of 16
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 13 of 16
      Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 14 of 16




8th
Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 15 of 16
       Case 6:21-mj-04028-MWP Document 1 Filed 03/08/21 Page 16 of 16




                                   ATTACHMENT B


                    ITEMS TO BE SEARCHED FOR AND SEIZED

       1.    Images of child pornography and files containing images of child pornography
in any form;

       2.      Information, correspondence, communications, and other             materials
constituting evidence of, or pertaining to, the sexual exploitation of minors;

       3.    Any and all records, documents, e-mails, telephone numbers, text messages,
correspondence, communications, images, internet search history, or other information,
which evince a sexual interest in minors or child exploitation;

       4.     Records and information relating to the existence of internet sites related to
child pornography or a sexual interest in children;

       5.     Records or other items related to the use of internet accounts, to include
usernames, passwords, financial accounts, social media accounts, location information, IP
address information, etc., which evinces the identity of the individual who uses or owns the
SUBJECT PHONE.
